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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 NAEEM KHALIFAH,                                      :
 ESTATE OF TALIA DUBOSE,                              :              CIVIL ACTION
                Plaintiff,                            :
                                                      :
                v.                                    :              NO. 21-cv-04981
                                                      :
 ALLSTATE PROPERTY AND CASUALTY                       :
 INSURANCE COMPANY,                                   :
               Defendant.                             :



                                             ORDER
       AND NOW, this 2nd day of December, 2021, upon consideration of Defendant’s partial

Motion to Dismiss For Failure to State a Claim (ECF No. 8) and the Complaint (ECF No. 1-4), it

is hereby ORDERED that Defendant’s Motion to Dismiss (ECF No. 8) is GRANTED with

respect to the bad faith claim. The bad faith claim is dismissed without prejudice to refiling in an

amended complaint on or before December 23, 2021 at 12:00 p.m. with specific factual

allegations regarding the Defendant’s bad faith.

       If no amended complaint is filed, Defendant shall file a responsive pleading to the

remaining counts in the Complaint on or before January 4, 2022.




                                                             BY THE COURT:

                                                             /s/ Chad F. Kenney

                                                             CHAD F. KENNEY, JUDGE
